3:22-cv-03071-CRL-KLM # 36-1   Filed: 11/17/23   Page 1 of 6




              Exhibit 1
             3:22-cv-03071-CRL-KLM # 36-1            Filed: 11/17/23     Page 2 of 6




                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                 SPRINGFIELD DIVISION
Lacie Davis, individually and on behalf of all    3:22-cv-03071-SEM-KLM
others similarly situated,
                                  Plaintiff,                      Initial Disclosures

                    - against -

Ricola USA, Inc.,
                                  Defendant

       Pursuant to Fed. R. Civ. P. 26(a)(1), Plaintiff Lacie Davis (“Plaintiff”), through counsel,

makes the following initial disclosures.


       I.      Introductory Statement

       The following information is based on Plaintiff’s current knowledge and investigation to

date. Pursuant to Rule 26(e), Plaintiff may supplement and/or amend these disclosures as the

materiality of documents and information become apparent and based upon additional information

learned through discovery or other means.

       Rule 26(a)(1) does not require production or description of any information or documents

protected by the attorney-client privilege, the attorney work-product doctrine, or any other

applicable privilege or protection, including the premature disclosure of expert consultants or

witnesses, and their opinions, governed by Rule 26(a)(2).

       Inadvertent disclosure of privileged or non-discoverable information or documents shall

not waive such privilege or protection. Plaintiff does not waive, or intend to waive, any objections

to the use of any documents or information contained or referenced herein, or the subject matter

thereof, in this or any subsequent proceeding.




                                                 1
                  3:22-cv-03071-CRL-KLM # 36-1                  Filed: 11/17/23        Page 3 of 6




           II.      Rule 26(a)(1)(A)(i): Supporting Witnesses Likely to have Discoverable
                    Information

           The name and, if known, the addresses and telephone number of each individual likely to

have discoverable information, along with the subjects of that information, that the disclosing party

may use to support its claims or defenses, unless the use would be solely for impeachment.

            Name                                       Subject Matter                                  Contact


    Lacie Davis               • relevant purchases                                                Plaintiff’s
                                                                                                  Counsel
                              • general knowledge of claims
                              • effect and materiality of representations

    Agents and                • policies or practices on subject matters in operative Defendant’s
    employees of                complaint;                                            Counsel
    Defendant                 • design, marketing, advertising, sales and pricing
                                information of the Product1;
                              • consumer surveys and market research related to
                                labeling and the Product and generally as relevant

           III.     Rule 26(a)(1)(A)(ii): Supporting Documents, Electronically Stored Information,
                    and Tangible Things in Plaintiff(s)’s Possession, Custody, or Control

           Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)(ii), and subject to the Introductory

Statement set forth above, plaintiff identifies the following documents, electronically stored

information, and/or tangible things, and their location, currently in plaintiff’s possession, custody,

and/or control, except to the extent the use of said material is limited to impeachment: plaintiff is

not in possession or control of any category of information subject to Fed. R. Civ. P.

26(a)(1)(A)(ii).




1
    Product refers to the products identified in the operative complaint, made, marketed and/or promoted by defendant.


                                                           2
             3:22-cv-03071-CRL-KLM # 36-1              Filed: 11/17/23      Page 4 of 6




       Plaintiff reserves the right to supplement and/or amend the information contained herein

as the materiality of issues, facts, witnesses, and documents become apparent, and as discovery

and investigation continue.


       IV.     Rule 26(a)(1)(A)(iii): Computation of Damages

       Plaintiff provides computations of each category of damages claimed, including the basis

of each computation, and the identification of materials that bear upon the nature and extent of

damages:

       1.      Restitution/Disgorgement: It is premature to reasonably estimate the amount of

restitution as defendant has not provided sales figures for the putative proposed classes for the

Product within the Relevant Period.

       2.      Damages are based in part on the price premium charged for the Product based on

the representations alleged to be misleading.

       3.      This entails the price at which plaintiff and consumers paid for the product based

on the claims, how much the product would be valued at if the true facts were disclosed, and the

additional amount defendant was able to obtain based on the alleged misrepresentations.

       4.      Notwithstanding the foregoing, the computation of damages involves this value and

total sales. The requested pre- and post-judgment interest shall be based thereon.

       5.      Attorneys’ Fees And Costs: It is premature to reasonably estimate attorneys’ fees

and costs sought in this action.

       6.      At the appropriate time, plaintiff shall file a motion or application for fees and costs,

with supporting facts and documents.

       7.      Injunctive/Declaratory Relief: It is premature to reasonably estimate the

monetary value of an order declaring defendant’s conduct unlawful and/or an order requiring it to



                                                  3
             3:22-cv-03071-CRL-KLM # 36-1            Filed: 11/17/23     Page 5 of 6




immediately cease and desist therefrom.

       8.      Plaintiff reserves the right to supplement and/or amend this information as the

materiality of issues, facts, witnesses, and documents become apparent, and as discovery and

investigation continue.


       V.      Rule 26(a)(1)(A)(iv): Liability Insurance/Indemnity Agreements

       Plaintiff does not have information regarding insurance or indemnity agreements that may

cover defendant’s liability for all or some of a judgment in this action. This information should be

in the possession, custody, and/or control of defendant. Plaintiff reserves the right to supplement

and/or amend this information as the materiality of issues, facts, witnesses, and documents become

apparent, and as discovery and investigation continue.

Dated: September 23, 2022
                                                                Respectfully submitted,

                                                                Sheehan & Associates, P.C.
                                                                /s/Spencer Sheehan
                                                                Spencer Sheehan
                                                                60 Cuttermill Rd Ste 412
                                                                Great Neck, NY 11021-3104
                                                                (516) 268-7080
                                                                spencer@spencersheehan.com




                                                 4
            3:22-cv-03071-CRL-KLM # 36-1            Filed: 11/17/23     Page 6 of 6




                                      Certificate of Service

I certify that on September 23, 2022, I served and/or transmitted the foregoing by the method
below to the persons or entities indicated, at their last known address of record (blank where not
applicable).
                                   CM/ECF           First-Class        Email            Fax
                                                       Mail
 Defendant’s Counsel                  ☐                  ☐               ☒               ☐
 Plaintiff’s Counsel                  ☐                  ☐               ☐               ☐
 Courtesy Copy to Court               ☐                  ☐               ☐               ☐


                                                        /s/ Spencer Sheehan
